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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
                v.                                 )            No. 1:15-cr-00001-TLS-SLC
                                                   )
 ALEJANDRO DELACRUZ                                )

                             FINDINGS AND RECOMMENDATION
                                OF THE MAGISTRATE JUDGE
                                 UPON A PLEA OF GUILTY

 TO:    THE HONORABLE THERESA L. SPRINGMANN, CHIEF JUDGE,
        UNITED STATES DISTRICT COURT

        Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the Federal

 Rules of Criminal Procedure, this matter came on for hearing before U.S. Magistrate Judge Susan

 Collins, on June 6, 2017, with the written consents of Defendant, counsel for Defendant, and

 counsel for the United States of America.

        The hearing on Defendant’s plea of guilty was in full compliance with Rule 11, Federal

 Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by Defendant under oath on the

 record and in the presence of counsel, the remarks of the Assistant United States Attorney and of

 counsel for Defendant,

        I FIND as follows:

        (1) that Defendant understands the nature of the charge against him to which the plea is

 offered;

        (2) that Defendant understands his right to trial by jury, to persist in his plea of not guilty,

 to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and his
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 right against compelled self-incrimination;

            (3) that Defendant understands what the maximum possible sentence is, including the

 effect of the supervised release term, and Defendant understands that the Sentencing Guidelines

 apply and that the Court may depart from those guidelines under some circumstances;

            (4) that the plea of guilty by Defendant has been knowingly and voluntarily made and is

 not the result of force or threats or of promises apart from the plea agreement between the

 parties;

            (5) that Defendant is competent to plead guilty;

            (6) that Defendant understands that his answers may later be used against him in a

 prosecution for perjury or false statement;

            (7) that there is a factual basis for Defendant’s plea; and further,

            I RECOMMEND that the Court accept Defendant’s plea of guilty and that Defendant be

 adjudged guilty of the offense charged in Count 3 of the eight-count Indictment, and have

 sentence imposed. A Presentence Report has been ordered. Should this Findings and

 Recommendation be accepted and Defendant adjudged guilty, sentencing will be scheduled

 before Chief Judge Theresa L. Springmann by separate order and notice. Objections to the

 Findings and Recommendation are waived unless filed and served within fourteen (14) days. 28

 U.S.C. § 636(b)(1)(B).

            DATED this 6th day of June 2017.

                                                           /s/ Susan Collins
                                                           Susan Collins,
                                                           United States Magistrate Judge




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